                                                              Case 2:17-cv-00487-APG-VCF Document 175 Filed 05/16/18 Page 1 of 3



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                                                                                          UNITED STATES DISTRICT COURT
                         LAS VEGAS, NEVADA 89128




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                            ATTORNEYS AT LAW




                                                                                              DISTRICT OF NEVADA
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                                                         15 TRANSFIRST GROUP, INC. f/k/a                 Case No. 2:17-CV-00487-APG-VCF
                                                         16 TRANSFIRST HOLDINGS, INC.,                   PLAINTIFFS’ MOTION FOR LEAVE TO
                                                            TRANSFIRST THIRD PARTY SALES LLC
                                                                                                         FILE APPENDIX IN SUPPORT OF
                                                         17 f/k/a TRANSFIRST MERCHANT                    PLAINTIFFS’ MOTION FOR ORDER TO
                                                            SERVICES, INC., and PAYMENT
                                                                                                         SHOW CAUSE AND FOR
                                                         18 RESOURCES INTERNATIONAL, LLC,                APPOINTMENT OF RECEIVER UNDER
                                                                                                         SEAL
                                                         19                 Plaintiffs,
                                                         20         v.
                                                         21 DOMINIC J. MAGLIARDITI; FRANCINE
                                                            MAGLIARDITI; in her individually capacity,
                                                         22
                                                            and as trustee of FRM TRUST, DJM
                                                         23 IRREVOCABLE TRUST, and the FANE
                                                            TRUST; ATM ENTERPRISES, LLC; DII
                                                         24 CAPITAL, INC.; DFM HOLDINGS, LTD;
                                                            DFM HOLDINGS, LP; DII PROPERTIES
                                                         25 LLC; MAGLIARDITI, LTD.;
                                                            CHAZZLIVE.COM, LLC; and SPARTAN
                                                         26 PAYMENT SOLUTIONS, LLC,

                                                         27                 Defendants.
                                                         28
                                                              Case 2:17-cv-00487-APG-VCF Document 175 Filed 05/16/18 Page 2 of 3



                                                          1         Plaintiffs TransFirst Group, Inc., TransFirst Third Party Sales LLC, and Payment

                                                          2 Resources International, LLC (collectively, “TransFirst”), by and through their counsel of record,

                                                          3 hereby seek leave to file the Appendix in Support of Plaintiffs’ Motion for Order to Show Cause

                                                          4 and for Appointment of Receiver (the “Appendix”) under seal. This motion is based on LR IA 10-

                                                          5 5, LR IC 6-1, the memorandum of points and authorities attached hereto, all pleadings and papers

                                                          6 on file in this case, and any other argument the Court may wish to consider.

                                                          7 DATED: May 16, 2018                        PAYNE & FEARS LLP
                                                                                                       Attorneys at Law
                                                          8

                                                          9

                                                         10                                            By:          Matthew L. Durham
                                                                                                                        MATTHEW L. DURHAM
                                                         11
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                                                                                                             Attorneys for Plaintiffs
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                                                          1                            MEMORANDUM OF POINTS AND AUTHORITIES
                                                          2            LR IC 6-1 mandates that parties not include personal-data identifiers, including financial

                                                          3 account numbers, in documents filed with the Court. Specifically, LR IC 6-1 states in relevant

                                                          4 part:

                                                          5            (a)       Parties must refrain from including … the following personal-data
                                                                                 identifiers from all documents filed with the court, including exhibits,
                                                          6                      whether filed electronically or in paper, unless the court orders otherwise:

                                                          7                      (1)    Social Security Numbers. ….

                                                          8                      …

                                                          9                      (4)    Financial Account Numbers. ….

                                                         10                      …

                                                         11                      (6)    Tax Identification Number. ….
PAYNE & FEARS LLP




                                                         12            (b)       A pro se party or attorney making a redacted filing also may file an
                    7251 W. LAKE MEAD BLVD., SUITE 525




                                                                                 unredacted copy under seal.
                         LAS VEGAS, NEVADA 89128




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                                                         14 LR IC 6-1.

                                                         15            Here, the Appendix contains numerous pages of bank records and tax returns containing

                                                         16 social security numbers, financial-account numbers, and tax identification numbers (among other

                                                         17 sensitive financial information). Accordingly, TransFirst respectfully requests that this Court enter

                                                         18 an order granting it leave to file the Appendix to under seal.

                                                         19 DATED: May 16, 2018                             PAYNE & FEARS LLP
                                                                                                            Attorneys at Law
                                                         20

                                                         21

                                                         22                                                 By:           Matthew L. Durham
                                                                                                                              MATTHEW L. DURHAM
                                                         23
                                                                                                                  Attorneys for Plaintiffs
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